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Statement of Accepting Responsibility, Profound Apology and Deepest Regret

Your Honor,

| stand before this honorable court today to take full responsibility for the tragic incident that
occurred on September 4, 2022. 1 am deeply sorry, profoundly saddened, and filled with
remorse for the immeasurable pain, suffering, and irreparable loss that my actions have caused
to the family and friends of the deceased.

| want to express my most sincere and heartfelt apologies to the bereaved family and friends
who have been profoundly affected by this devastating event. It is with a heavy heart and a
deep sense of regret that | acknowledge the unforgivable level of grief and anguish that my
actions have inflicted upon them,

Words cannot adequately convey the depth of my remorse for the irreversible loss of a loved
one. | understand that no apology can bring back the life that was tragically taken, and for that, |
am haunted by an overwhelming sense of guilt. | will carry the weight of my actions for the rest
of my life, knowing that | am responsible for causing such pain and heartache.

To the family and friends of the deceased, | want to assure you that | am fully aware of the
magnitude of my mistake and the devastating impact it has had on your lives. | cannot begin to
fathom the depth of your grief, and | can only offer my sincerest apologies for the anguish and
emptiness that my actions have caused. | am truly sorry for the void that can never be filled and
the dreams that will forever remain unfulfilled.

| understand that my behavior was inexcusable and that no amount of remorse can undo the
irreversible damage that has been done. | accept the weight of this tragedy and the burden of
the consequences that will be imposed upon me. It is my unwavering commitment to face the
legal proceedings with utmost respect, humility, and acceptance.

In addition to accepting full responsibility, | am also taking proactive steps to address the
underlying issues that led to this incident. | have enrolled in a comprehensive alcohol treatment
program that will span over the course of six months, with the last class scheduled for June 3,
2024. This program is designed to help me overcome my alcohol dependency and develop
healthier coping mechanisms. | am fully committed to actively participating in the program and
making lasting changes in my life. .

Furthermore, | am dedicated to personal growth, self-reflection, and continuous improvement. |
am actively engaging in counseling sessions and support groups to gain a deeper understanding
of the impact of my actions and to prevent any recurrence of such behavior in the future.

Your Honor, | humbly ask for your mercy and understanding as you deliberate on the
appropriate sentencing in this case. | am prepared to accept any penalties or consequences
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imposed upon me, as | understand that they are necessary and just. Thank you for granting me
the opportunity to address the court today. | am open to any questions or further discussion
that may assist in the sentencing process.

Respectfully,

Samuel Sweeley, MBA.
